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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


ERLIN EVER MENCIAS AVILA,

                    Plaintiff,

v.                                                         Civil No. 1:15-cv-02135-TSC

MATTHEW DAILEY,

                    Defendant.


                                            ORDER
      For the reasons set forth during the May 31, 2018 Pretrial Conference, the court hereby

GRANTS in part and DENIES in part Plaintiff Erlin Ever Mencias Avila’s Omnibus Motion

in Limine (ECF No. 67). Accordingly, it is ORDERED that:

        1) The parties are prohibited from presenting argument or evidence at trial related to

           the events that preceded the search of the van and removal of items of evidentiary

           value.

        2) The parties are permitted to present argument and evidence on whether Defendant

           had the authority to release Plaintiff’s van.

        3) The parties are prohibited from presenting argument or evidence at trial

           concerning Defendant’s subjective beliefs or state of mind concerning the

           continued seizure of the van.

        4) The parties are prohibited from presenting argument or evidence at trial regarding

           the potential availability of relief under D.C. Superior Court Rule of Criminal

           Procedure 41(g), or Plaintiff’s alleged failure to mitigate his damages by not filing

           his lawsuit sooner.


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Dated: June 1, 2018


                                      Tanya S. Chutkan
                                      TANYA S. CHUTKAN
                                      United States District Judge    
        




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